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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DONNA CURLING, ET AL.,                  )
                                        )
              Plaintiffs,               )
                                        )      CIVIL ACTION
 vs.                                    )
                                        )      FILE NO. 1:17-cv-2989-AT
BRAD RAFFENSPERGER,                     )
ET AL.,                                 )
                                        )
              Defendants.               )

                   COALITION PLAINTIFFS’ STATEMENT
                          ON WILLIAM DIGGES


       The Coalition Plaintiffs submit this Statement in response to this Court’s

direction in its July 2, 2019 Order:

       As the Coalition Plaintiffs have indicated that Plaintiff William
       Digges III, who has substantial database experience, was expected to
       lead the Coalition Plaintiffs’ review of the database, the Court
       DIRECTS the Coalition Plainitffs to identify and explain in detail the
       nature of Mr. Digges expertise, employment, and his expected role in
       the review.


(Doc. 446 at 3).
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           A.       Mr. Digges Database Experience and Expertise

           Mr. Digges retired from IBM in 2010 after 32 years and has 25 years

experience working with databases, including Microsoft Access, DB/2 and SQL.

Mr. Digges has a Master of Science in Computer Information System, Regis

University, and a Bachelor of Science from Fairleigh Dickenson University. His

range of responsibilities for IBM, and other employment information, is described

in his resume, attached hereto as Exhibit A.

           B.       Mr. Digges’ Knowledge of GEMS databases

           Mr. Digges also is familiar with GEMS databases. Mr. Digges has

reviewed the structure and operation of the 2001 and 2002 GEMS databases from

Hall County and Cobb County, Georgia. These databases are in the public

domain.1 He has also reviewed GEMS databases in the public domain including

large post-election databases from Pima County, Arizona, and Marin County,

California, which have the same file layout as the referenced Georgia’s Hall

County and Cobb County databases.

           C.       Mr. Digges’ Anticipated Role

           Mr. Digges will work with attorneys and experts in their review of non-

confidential data contained in the GEMS databases and will lead the team of less-



1
    http://blackboxvoting.org/docs/diebold/marks-gems-files.zip


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experienced analysts in their labor-intensive clerical review of the voluminous data

in the databases frequently comparing that data to citizen-collected polling place

documents.

      The timing of Mr. Digges’ involvement will depend in part upon the relief

granted by this Court. Plaintiffs originally proposed that the GEMS database be

produced without any confidentiality restrictions since the data is not confidential

and the structure of the database is no different than the structure of other

jurisdictions’ databases which are already in the public record. (Doc. 441). If the

Court orders the GEMS databases to be produced without restriction, Mr. Digges

work will begin immediately upon receipt of the databases.

      In Plaintiffs’ modified proposal, set forth in its July 3, 2019 filing (Doc.

451), the GEMS databases would first be reviewed only by Plaintiffs’ attorneys

and experts. If the attorneys and experts identify non-confidential information that

can be extracted from the databases for review by other non-lawyer, non-expert

members of Plaintiffs’ teams, they will identify that information to Defendants,

who will have 24 hours to raise an objection. If no objection is raised, or if the

objection is rejected by the Court, the Plaintiffs’ attorneys or expert will provide

the non-confidential information to the members of Plaintiffs’ teams which, for the

Coalition Plaintiffs, will be led by Mr. Digges.


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Respectfully submitted this 5st day of July, 2019.

/s/ Bruce P. Brown                        /s/ Robert A. McGuire, III
Bruce P. Brown                            Robert A. McGuire, III
Georgia Bar No. 064460                    Admitted Pro Hac Vice
BRUCE P. BROWN LAW LLC                      (ECF No. 125)
1123 Zonolite Rd. NE                      ROBERT MCGUIRE LAW FIRM
Suite 6                                   113 Cherry St. #86685
Atlanta, Georgia 30306                    Seattle, Washington 98104-2205
(404) 881-0700                            (253) 267-8530




                   Counsel for Coalition for Good Governance
/s/ Cary Ichter
Cary Ichter
Georgia Bar No. 382515
ICHTER DAVIS LLC
3340 Peachtree Road NE
Suite 1530
Atlanta, Georgia 30326
(404) 869-7600
Counsel for William Digges III,Laura Digges, Ricardo Davis and Megan Missett




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                     CERTIFICATE OF COMPLIANCE

      Pursuant to LR 7.1(D), I hereby certify that the foregoing document has

been prepared in accordance with the font type and margin requirements of

LR 5.1, using font type of Times New Roman and a point size of 14.

                                   /s/ Bruce P. Brown
                                   Bruce P. Brown




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                         CERTIFICATE OF SERVICE

      This is to certify that I have this day caused the foregoing to be served upon

all other parties in this action by via electronic delivery using the PACER-ECF

system.

      This 5th day of July, 2019.

                                       /s/ Bruce P. Brown
                                       Bruce P. Brown




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                                         William E. Digges
                                           3478 Chastain Glen Ln NE
                                              Marietta, GA 30066
Cell: 678-429-3729
wdigges@gmail.com
                                                SUMMARY

Financial professional with knowledge of a broad range of corporate financial operations and processes.
Experienced in corporate headquarters, plant hardware or software manufacturing, and marketing environments.
Business oriented expertise with financial databases and IT for analysis, process improvement, development
and reporting purposes.

                                     PROFESSIONAL EXPERIENCE

Kennesaw State University, Kennesaw, GA
Professional Accountant IV - (08/13 – 05/19) – Responsible for total unit consolidated reporting and revenue,
expense, financial planning and analysis for Card Services, Copy Print, ASaP Admin,Parking Services, and
Student Health Services units.

Professional Accountant IV - (01/10 – 08/13) – Responsible for revenue, expense, financial planning and
analysis for all food (9) venues on campus. Includes monthly close, actual to plan analysis statements and
forecasting.

IBM Corporation, Atlanta, GA
Senior Information Analyst – (2007 – 2010)
Designed, prepared and analyzed sales leads and forecast reports for Eastern USA and Canadian regional
marketing executives.
   • Designed, reconciled, analyzed and distributed weekly sales forecast metrics in Excel spreadsheets to
   marketing, sales executives to measure sales progress.
   • Used large data warehouse to provide custom opportunity analysis reports for sales executives, which
   assisted in improving sales metrics.
   • Created custom reports for operations executives that resolved systemic record errors.

Senior Business Analyst, IT – (2006 – 2007)
Teamed with IT to develop and implement standard financial metrics reports for commission based sales
representatives in a worldwide marketing environment.
Created detailed metrics reports to measure all worldwide commissioned individuals against sales quotas.
Presented with the IBM Bravo Award for achievement.

   • Led sales reporting standardization initiative, which consolidated commissions reporting, eliminating
   previous inconsistent reporting system.
   • Initiated a project to improve IP data communications with a Latin American support unit that improved
   productivity.

Senior Business Analyst – (1996 – 2007)
Prepared and analyzed marketing revenue and gross profit report for executives using Excel in a data warehouse
environment. Answered numerous inquiries from management and prepared reports as requested. Created and
ran standard procedures for weekly and monthly reporting (100+ reports to 70+ Managers). Polled data
warehouses for sales revenue information and consolidated the results for executive reporting.
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Granted, IBM Leadership Award for overall performance.
   • Mentored three employees and others in System and Database reporting techniques as required.
   • Team Lead for nationwide field sales commissions reporting projects which streamlined the reporting
   process.
   • Team Member on project for internal eBusiness initiative using a WEB based intranet portal for revenue
   and gross profit reporting to Sales Teams.
   • Participated in a data mart server project, which provided processing efficiencies for geographic views of
   sales revenue using a database.

Senior Accountant – (1993 – 1996)
Developed and maintained billing system for a Software & Publications unit. Created activity based cost center
process for a Software & Publications unit. Distributed and controlled cost center records via inter-company
network to the ledger consolidation system. A finance representative on software billing and distribution system
development team, ensuring that system requirements for costing and billing were met. Duties included preparing
algorithms, testing, designing SQL tables and setting up a test environment for network transactions.
                                 OTHER IBM EXPERIENCE – (1977-1993)
Cost Accounting
Controlled and calculated cost center Software unified billing rates for distribution to other inter-company units
via network. Maintained and improved software cost and delivery, billing system.

Staff Financial Planning – Plant Administration/Operations
Created and measured plant facility organizations to budget for plant operations units.
Systems Analyst – Property Control
Responsible for the design, installation and maintenance of a networked asset control system which replaced a
paper based system improving asset tracking.
Maintained manufacturing plant system tables for plant operating expense.
International Accounting
Finance team member executing the transfer and remote operation of a World Trade ledger operation from NY
to CO. Designed and implemented the networked transfer of $1 billion in goods and services ledger from
International unit to USA domestic ledgers for efficient consolidation of worldwide accounts.
Ledger and Balance Sheet Accounting
Processed, reconciled and distributed plant ledger and balance sheet information for $300 million manufacturing
operation via an inter-company network.
Division HQ Accounting
Measured, analyzed and consolidated product development expense to budget for five plant sites to headquarters
unit.
Accounting, General & Administrative Expense
Balanced and controlled manufacturing expense accounts for consolidation to headquarters unit.

                                              EDUCATION
MS, Computer Information Systems, Regis University, Denver, CO, 1995
Finance & Information Systems (36 Graduate credits), Pace University, White Plains, NY, 1984
BS, Accounting, Fairleigh Dickenson University, Teaneck, NJ, 1982

                                         TECHNICAL SKILLS
Windows 7-10, Excel, Microsoft Word, PowerPoint, Microsoft Office, Access,DB/2, QMF, SQL, BRIO,
Hyperion Explorer, PeopleSoft, SAS, and advanced PC user.
